Case 3:22-cv-00049-NKM-JCH Document 269-1 Filed 07/29/23 Page 1 of 2 Pageid#: 3269




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

                                          )
   BABY DOE, A CITIZEN OF AFGHANISTAN )
   CURRENTLY RESIDING IN NORTH            )           Civil Action No. 3:22-CV-49
   CAROLINA, BY AND THROUGH NEXT          )
   FRIENDS, JOHN AND JANE DOE; AND        )
   JOHN AND JANE DOE, CITIZENS OF         )           Judge Norman K. Moon
   AFGHANISTAN AND LEGAL GUARDIANS )
   OF BABY DOE,                           )           Magistrate Judge Joel C. Hoppe
                                          )
                              Plaintiffs, )
                                          )
                       v.                 )
                                          )
   JOSHUA MAST, STEPHANIE MAST,           )
   RICHARD MAST, KIMBERLEY MOTLEY, )
   AND AHMAD OSMANI,                      )
                                          )
                              Defendants, )
                                          )
                       and                )
                                          )
   UNITED STATES SECRETARY OF STATE )
   ANTONY BLINKEN AND UNITED STATES )
   SECRETARY OF DEFENSE GENERAL           )
   LLOYD AUSTIN,                          )
                              Nominal     )
                              Defendants. )
   _______________________________________)

                                      [PROPOSED] ORDER

          COMES NOW Non-Party Pipe Hitter Foundation Inc. (“Pipe Hitter”), by counsel and upon

   its Motion for Pro Hac Vice Admission of Caitlin Parry Contestable, and for good cause shown, it

   is hereby:

          ORDERED that the Motion is GRANTED. Caitlin Parry Contestable, Esq., may appear in

   this Court as counsel for Non-Party Pipe Hitter Foundation in the above-captioned case, in

   association with Dan Backer, Esq., a member of the Bar of Virginia.

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Case 3:22-cv-00049-NKM-JCH Document 269-1 Filed 07/29/23 Page 2 of 2 Pageid#: 3270




         SO ORDERED.


   DATED:     July __________, 2023


                                                 ________________________
                                                 Hon. Norman K. Moon
                                                 U.S. District Judge




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